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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                              Eastern Division (Youngstown)

SUSAN BEIERSDORFER,DARIO                               )
HUNTER, GREG HOWARD, SALLY JO
WILEY, SARAQUOIA BRYANT,                               )
KATHARINE S. JONES, GERALD
DOLCINI, GWEN FISCHER, DAMEN                           )   Case No. _________________
RAE, WILLIAM LYONS, GREGORY
PACE, MARKIE MILLER, and BRYAN                         )
TWITCHELL,
                                                       )
       Plaintiffs,
                                                       )
v.
                                                       )
FRANK LaROSE, in his official capacity as
Secretary of State of the State of Ohio; and           )
PAMELA B. MILLER, LARRY G. CRAY,
JOHN V. WELKER, JR., SHARON A.                         )
RAY, in their official capacities as members
of the Medina County Board of Elections;               )
HELEN WALKER, KATE MCGUCKIN,
KEN RYAN, and AUNDREA                                  )
CARPENTER-COLVIN, in their official
capacity as members of the Athens County               )
Board of Elections; DAVID BETRAS,
MARK E. MUNROE, ROBERT WASKO,                          )
and TRACEY S. WINBUSH, in their
official capacities as members of the                  )
Mahoning County Board of Elections;
ELAYNE J. CROSS, DORIA DANIELS,                        )
PATRICIA NELSON, DENISE L. SMITH,
in their official capacities as members of the         )
Portage County Board of Elections; DAVID
W. FOX, JAMES V. STEWART,                              )
CHARLES E. WILLIAMS, and PAULA J.
WOOD, in their official capacities as                  )
members of the Meigs County Board of
Elections; DOUGLAS J. PREISSE,                         )
BRAD K. SINNOTT, KIMBERLY E.
MARINELLO, and MICHAEL E.                              )
SEXTON, in their official capacities as

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members of the Franklin County Board of                )
Elections; RICHARD F. SCHOEN,
BRENDA HILL, JOSHUA HUGHES, and                        )
DAVID KARMOL, in their official
capacities as members of the Lucas County              )
Board of Elections,
                                                       )
               Defendants.
                                                       )

*                    *             *             *                                            *
                 COMPLAINT FOR DECLARATORY JUDGMENT AND
                PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF

       1. Plaintiffs ask this Court to enjoin Ohio’s ballot access scheme to the extent it allows

unconstitutional pre-enactment review of proposed ballot measures by election officials and the

judiciary in violation of separation of powers and the people’s core political rights; to declare

unconstitutional, and enjoin enforcement of, the portions of Ohio Rev. Code §§ 307.95, 307.95

( C), 3501.11(K)(1) and (2), 3501.38(M)(1), 3501.39(A)(3) that authorize local boards of

elections and the Secretary of State to scrutinize the subject matter and content of ballot

initiatives; and to award Plaintiffs costs and attorney’s fees under 42 U.S.C. § 1988(b).

    OVERVIEW OF OHIO INITIATIVE PROCESS AND ITS UNCONSTITUTIONAL
                  RESTRICTIONS ON BALLOT ACCESS

       2. The Ohio Constitution, Article I, § 2, provides that the political power is inherent in the

people and that the people have the right to alter, reform, or abolish the same, whenever they may

deem it necessary.

       3. The Ohio Constitution, Article X, § 3 and Article XVIII, § 7, guarantee county and city

residents the right to propose ballot measures via the initiative process for county and municipal

charters, respectively.

       4. The Ohio State legislature has enacted legislation pertaining to the exercise of the right

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to initiative. See generally O.R.C. §§ 307.94, 307.95, 731.28, 3501.11(K), 3501.38(M),

3501.39(A)(3). A number of Ohio state statutes pertaining to the exercise of the right to initiative

allow election officials to scrutinize the subject matter and content of ballot initiatives. This

review severely burdens or otherwise unreasonably interferes with Plaintiffs’ First Amendment

rights, and violates the separation of powers doctrine.

       5. The Ohio state judiciary has similarly allowed election officials to interfere with the

right to initiative by upholding election officials’ substantive, content-based review of proposed

initiatives pre-enactment.

       6. Ohio’s ballot access scheme has further enabled the Ohio state judiciary to interfere

with the citizen lawmaking process: by deferring to election officials’ substantive, content-based

review; by interjecting itself into the citizen lawmaking process pre-enactment; and by issuing

advisory opinions on the validity of proposed measures pre-enactment.

       7. In 2017, the Ohio state legislature took additional unconstitutional steps to erode the

initiative power by enacting HB 463 (a bill introduced as dealing with foreclosures, but

containing significant changes to election laws). HB 463 contained changes to Ohio election

statutes that purported to codify judicial decisions allowing unconstitutional pre-enactment

content-based review of proposed initiatives. Election officials have relied on the statutes enacted

in HB 463 to decide to not put duly-qualified initiatives on the ballot.

       8. Plaintiffs’ experience with the Ohio initiative process, both pre- and post-HB 463,

demonstrates Ohio’s unconstitutional and arbitrary restrictions on ballot access and interference

with the citizen lawmaking process through pre-enactment content-based review.

       9. The passage of HB 463 and election officials’ continued violation of Plaintiffs’


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constitutional rights by vetoing initiatives before they go onto the ballot shows that Defendants

will continue to prevent select proposed initiatives from being placed on the ballot absent court

intervention.

       10. Defendants have been violating, and continue to violate, Plaintiffs’ First Amendment

rights and the right of local, community self-government by examining the content of proposed

initiatives, and by, in most instances, opining that they are not fit for the ballot based on their

content and on that basis keeping them off the ballot.

       11. The lack of a bright line rule and clear prohibition against any pre-enactment review

of a proposed initiative’s content by election officials or the judiciary renders the initiative

process in violation of core political rights and subject to unconstitutionally inconsistent results.

       12. Ohio’s ballot access scheme and Defendants’ unconstitutional conduct violates the

inherent and constitutionally secured right of local, community self-government, the First and

Fourteenth Amendments of the United States Constitution, and runs afoul of Ohio’s separation of

powers doctrine.

                                              PARTIES

                                              Plaintiffs

       13. All the plaintiffs are residents of Ohio who have suffered and will continue to suffer

deprivation of their constitutional rights absent a Court order enjoining application of

unconstitutional provisions of Ohio Rev. Code §§ 307.95, 307.95( C), 3501.11(K)(1) and (2),

3501.38(M)(1), 3501.39(A)(3), enjoining Defendants’ unconstitutional conduct, and enjoining

content-based pre-enactment review by election officials and the judiciary.

       14. Plaintiff Susan Beiersdorfer is a resident at 359 Bradley Lane, Youngstown,


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Mahoning County, OH 44504. Plaintiff Beiersdorfer has been since 2013, and continues to be,

involved in proposed city charter amendment initiatives by such actions as collecting signatures,

serving on petition committees, and participating in lawsuits to challenge the unlawful actions of

state election officials.

        15. Plaintiff Dario Hunter is a resident at 439 Pasadena Ave., Youngstown, Mahoning

County, OH 44507. Plaintiff Hunter has been since 2016, and continues to be, actively involved

in proposed city charter amendment initiatives by such actions as collecting signatures,

participating in campaigns, and serving on petition committees.

        16. Plaintiff Greg Howard is a resident at 41329 Gibson Ridge Road, Albany, Meigs

County, OH 45710. Plaintiff Howard has been since 2015, and continues to be, involved in

proposed county charter initiatives by such actions as collecting signatures, serving on petition

committees, and participating in lawsuits to challenge the unlawful actions of state election

officials. Plaintiff Howard is part of the 2018 Meigs County Home Rule Committee and is

currently collecting signatures to get a county charter on the 2019 ballot.

        17. Plaintiff Sally Jo Wiley is a resident at 3050 Glen Finnan Drive, Albany, Athens

County, Ohio 45710. Plaintiff Wiley has been since 2015, and continues to be, actively involved

in efforts to place proposed initiatives on the ballot by such actions as serving on petition

committees, collecting signatures, and participating in lawsuits for the years 2015 through 2017

to challenge the unlawful actions of state election officials.

        18. Plaintiff Saraquoia Bryant is a resident at 7002 SR 329, Guysville, Athens County,

OH 45735. Plaintiff Bryant has been since 2015 and continues to be actively involved in the

Athens Community Bill of Rights Committee (“ACBORC”), a coalition of activists concerned


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about oil and gas hydraulic fracturing and the practice of using injection wells for disposal of its

wastes. She collected petition signatures in 2015 through 2017. In 2017, she served on the

petition committee and filed a legal challenge to the Athens BOE’s decision not to place the

proposed initiative on the ballot. Plaintiff Bryant has been, and continues to be, actively involved

in efforts to place proposed initiatives on the ballot by such actions as serving on petition

committees, collecting signatures, and participating in lawsuits to challenge the unlawful actions

of state election officials.

        19. Plaintiff Katharine S. Jones is a resident at 2606 Hidden Spring Ln, Wadsworth,

Medina County, OH 44281. Plaintiff Jones is a member of Sustainable Medina County, an

unincorporated community group of concerned residents that advocates for local, direct

democratic control over energy policy and fossil fuel projects taking place within the county.

Plaintiff Jones has been since 2014, and continues to be, actively involved in efforts to place

proposed initiatives on the ballot by such actions as serving on petition committees, collecting

signatures, and participating in lawsuits to challenge the unlawful actions of state election

officials.

        20. Plaintiff Gerald Dolcini is a resident at 308 Bellus Rd., Hinckley, Medina County, OH

44233, where he has an organic farm. Plaintiff Dolcini is a member of Sustainable Medina

County. Plaintiff Dolcini has been since 2016, and continues to be, actively involved in efforts to

place proposed initiatives on the ballot by such actions as serving on the petition committee,

collecting signatures, and participating in lawsuits to challenge the unlawful actions of state

election officials.

        21. Plaintiff Gwen Fischer is a resident at 6793 Cheryl Drive, Hiram, Portage County, OH


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44234. Plaintiff Fischer is a founding member of the Portage Community Rights Group, a group

working to initiate and sponsor a vote on a proposal to convert the Portage County government to

a charter form and is currently circulating petitions for the 2019 ballot. Plaintiff Fischer has been

since 2014, and continues to be, actively involved in efforts to place proposed initiatives on the

ballot by such actions as serving on the petition committee, collecting signatures, and

participating in lawsuits to challenge the unlawful actions of state election officials.

        22. Plaintiff Damen Rae is a resident at 4727 Hattrick Road, Ravenna, Portage County,

OH 44266. Plaintiff Rae is a member of the Portage Community Rights Group. Plaintiff Rae has

been since 2016, and continues to be, actively involved in efforts to place proposed initiatives on

the ballot by such actions as serving on the petition committee and collecting signatures. Plaintiff

Rae is actively collecting signatures to place a charter on the 2019 ballot.

        23. Plaintiff William Lyons is a resident at 245 Walhalla Rd., Columbus, Franklin

County, OH 43202, and is a member of the Columbus Community Bill of Rights community

group. Plaintiff Lyons has been since 2015, and continues to be, actively involved in efforts to

place proposed initiatives on the ballot by such actions as serving on the petition committee,

collecting signatures, and participating in lawsuits to challenge the unlawful actions of state

election officials.

        24. Plaintiff Gregory Thomas Pace is a resident at 1362 Erickson Road, Columbus,

Franklin County, OH 43227. Plaintiff Pace is a founding member of the Columbus Community

Bill of Rights group. Plaintiff Pace has been since 2014, and continues to be, actively involved in

efforts to place proposed initiatives on the ballot by such actions as serving on the petition

committee, collecting signatures, and participating in lawsuits to challenge the unlawful actions


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of state election officials.

        25. Plaintiff Markie Miller is a resident at 5905 317th Street, Toledo, Lucas County, OH

43611. Plaintiff Miller is a participant in Toledoans for Safe Water. Plaintiff Miller co-organized

the campaign for the Lake Erie Bill of Rights. Plaintiff Miller has been since 2016, and continues

to be, actively involved in efforts to place proposed Lake Erie Bill of Rights on the ballot by

collecting signatures.

        26. Plaintiff Bryan Twitchell is a resident at 2509 Aldringham Road, Toledo, Lucas

County, Ohio 43606. Plaintiff Twitchell is one of the original participants in Toledoans for Safe

Water. Plaintiff Twitchell has been since 2016, and continues to be, actively involved in efforts

to place proposed Lake Erie Bill of Rights on the ballot by serving on the petition committee,

collecting signatures, and participating in lawsuits to challenge the unlawful actions of state

election officials.

        27. Defendants have violated, and continue to violate, Plaintiffs’ constitutional rights by

applying Ohio’s unconstitutional election laws and by engaging in unlawful pre-enactment

review of proposed ballot measures.

                                            Defendants

        28. Defendant Frank LaRose is sued in his official capacity as Ohio Secretary of State

(hereinafter “Secretary LaRose”). Secretary LaRose maintains his office at 180 East Broad Street,

16th Floor, Columbus, Ohio 43215 and functions as Ohio's chief elections officer. O.R.C. §

3501.04. Secretary LaRose’s responsibilities include, among others, appointing members of the

Boards of Elections, issuing directives and advisories to Board members regarding election

administration and enforcing them, prescribing the form of registration cards, ballots, cards of


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instructions, and poll books, and reviewing petitions to place measures on the ballot. O.R.C. §§

307.95( C), 3501.05.

       29. Defendant LaRose’s predecessor as Ohio Secretary of State, Jon Husted, violated the

people’s constitutional rights by compelling local election officials to comply with Ohio’s

unconstitutional election laws and by himself engaging in unconstitutional pre-election review of

proposed ballot measures. Defendant LaRose is likely to implement and/or enforce the same

policies and practices, and should be enjoined from so doing.

       30. Defendants Pamela B. Miller, Larry G. Cray, John V. Welker, Jr., and Sharon A. Ray

are the appointed Medina County Board of Elections members, with a mailing address of P.O.

Box 506, Medina, OH 44258. They are responsible for applying Ohio’s unconstitutional election

laws and participating in Ohio’s unconstitutional ballot access scheme, and are being sued in

their official capacities (“Medina BOE”).

       31. Defendants Helen Walker, Kate McGuckin, Ken Ryan, and Aundrea Carpenter-

Colvin are appointed members of the Athens County Board of Elections, located at 15 S Court

St, #130, Athens, OH 45701. They are responsible for applying Ohio’s unconstitutional election

laws and participating in Ohio’s unconstitutional ballot access scheme, and are being sued in

their official capacities (“Athens BOE”).

       32. Defendants David Betras, Mark E. Munroe, Robert Wasko, and Tracey S. Winbush

are appointed members of the Mahoning County Board of Elections, located at 345 Oak Hill

Avenue, Entrance A, Youngstown, OH 44502. They are responsible for applying Ohio’s

unconstitutional election laws and participating in Ohio’s unconstitutional ballot access scheme,

and are being sued in their official capacities (“Mahoning BOE”).


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       33. Defendants Elayne J. Cross, Doria Daniels, Patricia Nelson, Denise L. Smith are

appointed members of the Portage County Board of Elections, located at 449 S. Meridian St.,

#101, Ravenna, OH 44266. They are responsible for applying Ohio’s unconstitutional election

laws and participating in Ohio’s unconstitutional ballot access scheme, and are being sued in

their official capacities (“Portage BOE”).

       34. Defendants David W. Fox, James V. Stewart, Charles E. Williams, and Paula J.

Wood are appointed members of the Meigs County Board of Elections, located at Meigs County

Annex Building, 113 E. Memorial Dr., Suite A, Pomeroy, OH 45769. Said Defendants are

responsible for applying Ohio’s unconstitutional election laws and participating in Ohio’s

unconstitutional ballot access scheme, and are being sued in their official capacities (“Meigs

BOE”).

       35. Defendants Douglas J. Preisse, Brad K. Sinnott, Kimberly E. Marinello, and Michael

E. Sexton are appointed members of the Franklin County Board of Elections, located at 1700

Morse Road, Columbus, OH 43229. They are responsible for applying Ohio’s unconstitutional

election laws and participating in Ohio’s unconstitutional ballot access scheme, and are being

sued in their official capacities (“Franklin BOE”).

       36. Defendants Brenda Hill, Joshua Hughes, Richard F. Schoen and David Karmol are

appointed members of the Lucas County Board of Elections, located at One Government Center,

Suite 300, Toledo, OH 43604. They are responsible for applying Ohio’s unconstitutional election

laws and participating in Ohio’s unconstitutional ballot access scheme, and are being sued in

their official capacities (“Lucas BOE”).

       37. Defendants have violated, and continue to violate, the people’s state and federal


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constitutional rights by engaging in unconstitutional pre-enactment review of proposed ballot

measures.

                                  JURISDICTION AND VENUE

        38. Plaintiffs seek declaratory and injunctive relief pursuant to the Uniform Declaratory

Judgment Act, 28 U.S.C. § 2201 and 42 U.S.C. § 1983.

        39. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 over

Plaintiffs’ causes of action brought pursuant to the First, Ninth, and Fourteenth Amendments of

the United States Constitution.

        40. This Court has supplemental jurisdiction over the pendent state law claims under 28

U.S.C. § 1367.

        41. Venue is proper under 28 U.S.C. § 1391(b) because at least one Defendant resides in

the instant district as defined by 28 U.S.C. § 1391(c); and a substantial part of the events or

omissions giving rise to the claim occurred in the instant district.

        42. Plaintiffs have standing to bring this action because they have been, and are currently

being, harmed by Ohio’s election laws and the manner in which Ohio’s ballot access scheme

violates their constitutional rights.

                                        LEGAL FRAMEWORK

        43. The Ohio State Constitution and Ohio election statutes set forth the framework under

which Ohio residents may place proposed measures on the ballot, and this framework cannot

violate fundamental and constitutionally secured rights.



        A. Ohio election laws allowing Defendants Ohio Boards of Elections and Secretary
        of State to engage in unconstitutional content based, pre-enactment review of

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        proposed ballot measures

        44. For several years, Ohio election statutes have unconstitutionally restricted Plaintiffs’

rights to place proposed measures on the ballot by allowing Defendants to engage in content-

based, pre-enactment review of proposed ballot measures.

        45. Legislation known as House Bill 463 (“HB 463"), which became law on April 6,

2017, amended Ohio Rev. Code §§ 307.95, 307.95(C), 3501.11(K)(1) and (2), 3501.38(M)(1),

3501.39(A)(3). In doing so, HB 463 further eroded the right to ballot access by expressly and

unconstitutionally permitting Defendants to review the substance of proposed initiatives to

determine such issues as whether the proposed initiative is within a county’s or municipality’s

“authority to act” or “initiative power” or is “valid”, and whether the content and substance of the

petition conforms with the requirements of the Ohio Constitution.

        46. The provisions of O.R.C. §§ 307.95, 307.95(C), 3501.11(K)(1) and (2),

3501.38(M)(1), 3501.39(A)(3) set forth herein, as authoritatively construed by the Ohio Supreme

Court, facially violate the First Amendment.

        47. Further, throughout the past several years, Plaintiffs have been subject to

unconstitutional application of Ohio’s election laws by their respective Defendant election

officials.

               1. Ohio Rev. Code § 307.94– “County charter; petition; alternative methods;
               verifying signatures”; and § 307.95 - “Determining validity of petition;
               protest; secretary of state determines”

        48. Ohio Rev. Code §§ 307.94 and 307.95 set forth the process under which petitioners’

committees may present petitions for county charters to the board of elections for placement on

the ballot.

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       49. Section 307.94 describes the process for petitioners to submit signatures to the board

of elections. If the board of elections determines that the petition and the signatures on the

petition meet the requirements of law, the board of elections submits a report to the county

commissions.

       50. With regard to this first part of the process, Section 307.94 provides, in part:

       Such electors may, in the alternative not later than the one hundred thirtieth day before
       the date of a general election, file such a petition with the board of elections of the
       county. In such case the board of elections shall immediately proceed to determine
       whether the petition and the signatures on the petition meet the requirements of law
       and to count the number of valid signatures and to note opposite each invalid
       signature the reason for the invalidity. The board of elections shall complete its
       examination of the petition and the signatures and shall submit a report to the board of
       county commissioners not later than the one hundred twentieth day before the date of the
       general election certifying whether the petition is valid or invalid and, if invalid, the
       reasons for invalidity, whether there are sufficient valid signatures, and the number of
       valid and invalid signatures. The petition and a copy of the report to the board of county
       commissioners shall be available for public inspection at the board of elections.

       51. The next portion of Section 307.94 provides two alternatives: one if the board of

elections certifies the petition to be valid and have a sufficient number of signatures, and one if

the board of elections certifies the petition to be invalid or to have an insufficient number of

signatures:

       If the petition is certified by the board of elections to be valid and to have sufficient valid
       signatures, the board of county commissioners shall forthwith and not later than four p.m.
       on the one hundred eleventh day before the general election, by resolution, certify the
       petition to the board of elections for submission to the electors of the county at the next
       general election. If the petition is certified by the board of elections to be invalid or to
       have insufficient valid signatures, or both, the petitioners’ committee may protest such
       findings or solicit additional signatures as provided in section 307.95 of the Revised
       Code, or both, or request that the board of elections proceed to establish the validity or
       invalidity of the petition and the sufficiency or insufficiency of the signatures in an action
       before the court of common pleas in the county.

O.R.C. § 307.94.

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          52. If the board of elections has certified the petition to be valid and have a sufficient

number of signatures, and the board of county commissioners certifies it to the board of elections

for submission to the electors, the board of elections proceeds to again review the petition, this

time under § 307.95(A).

          53. Section 307.95(A) incorporates review as provided by Section 3501.38, including the

provisions of that section that constitute unconstitutional substantive review:

          (A) When a county charter petition has been certified to the board of elections pursuant to
          section 307.94 of the Revised Code, the board shall immediately proceed to determine
          whether the petition and the signatures on the petition meet the requirements of law,
          including section 3501.38 of the Revised Code, and to count the number of valid
          signatures. The board shall note opposite each invalid signature the reason for the
          invalidity.

          54. If, under § 307.94, the board of elections certifies the petition to be invalid or to have

insufficient valid signatures, or both, the petitioners’ committee may protest such findings or

solicit additional signatures as provided in § 307.95 of the Revised Code, or both, or request that

the board of elections proceed to establish the validity or invalidity of the petition and the

sufficiency or insufficiency of the signatures in an action before the court of common pleas in the

county.

          55. If the petitioners’ committee chooses to protest, it must follow the procedures set

forth in § 307.95(B) and (C). If a petitioners’ committee protests the boards of election’s decision

it ends up before the Defendant Secretary of State for review.

          56. Section 307.95(C) impermissibly requires the Secretary of State to review the

constitutionality of a petition and determine whether it is “within the initiative power”:

          The secretary of state, within ten days after receipt of the protests, shall determine the
          sufficiency or insufficiency of the signatures and the validity or invalidity of the petition,


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       including whether the petition conforms to the requirements set forth in Section 3 of
       Article X and Section 3 of Article XVIII of the Ohio Constitution, including the
       exercise of only those powers that have vested in, and the performance of all duties
       imposed upon counties and county offices by law, and whether the petition satisfies the
       statutory prerequisites to place the issue on the ballot. The petition shall be invalid if
       any portion of the petition is not within the initiative power. The secretary of state may
       determine whether to permit matters not raised by protest to be considered in determining
       such validity or invalidity or sufficiency or insufficiency, and may conduct hearings,
       either in Columbus or in the county where the county charter petition is filed. The
       determination by the secretary of state is final.

O.R.C. § 307.95( C).

       57. Petitions filed under O.R.C. §§ 307.94 or 307.95 are also subject to review under §

3501.38(M)(1).

       58. As further alleged below, § 3501.38(M)(1) allows the board of elections to undertake

unlawful content-based review.

               2. Board of election’s powers and duties under Ohio Rev. Code §§ 3501.11,
               3501.38 and 3501.39

                       a. O.R.C. 3501.11 –“Duties of board”

       59. O.R.C. § 3501.11 sets forth the boards of election’s powers and duties.

       60. The amendments to O.R.C.§ 3501.11(K), as a result of HB 463, permit unlawful

substantive review as to the “sufficiency and validity of petitions”, and as to whether the measure

is within the “scope of authority” and “initiative power”.

       Section 3501.11(K) provides, in part:

       Each board of elections shall exercise by a majority vote all powers granted to the board
       by Title XXXV of the Revised Code, shall perform all the duties imposed by law, and
       shall do all of the following:

       *       *       *

       (K)(1) Review, examine, and certify the sufficiency and validity of petitions and
       nomination papers, and, after certification, return to the secretary of state all petitions and

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       nomination papers that the secretary of state forwarded to the board;

       (2) Examine each initiative petition, or a petition filed under section 307.94 or 307.95
       of the Revised Code, received by the board to determine whether the petition falls
       within the scope of authority to enact via initiative and whether the petition satisfies the
       statutory prerequisites to place the issue on the ballot, as described in division (M) of
       section 3501.38 of the Revised Code. The petition shall be invalid if any portion of the
       petition is not within the initiative power.

                       b. O.R.C. § 3501.38 – “Declaration of candidacy, nominating petition,
                       other petition requirements; election falsification”

       61. Section 3501.38, referenced in O.R.C. § 3501.11(K), applies to “[a]ll declarations of

candidacy, nominating petitions, or other petitions presented to or filed with the secretary of state

or a board of elections or with any other public office for the purpose of becoming a candidate

for any nomination or office or for the holding of an election on any issue”.

       62. Section 3501.38(M)(1) expressly subjects petitions to content-based, substantive

review. Section 3501.38(M)(1)(a) requires the board of elections to consider whether the

petition’s substance is within the scope of the municipal political subdivision’s authority to enact

via initiative. Section 3501.38(M)(1)(b) requires the board of elections to consider whether the

petition’s substance is within the scope of the county’s authority to enact via initiative:

       (M)(1) Upon receiving an initiative petition, or a petition filed under section 307.94 or
       307.95 of the Revised Code, concerning a ballot issue that is to be submitted to the
       electors of a county or municipal political subdivision, the board of elections shall
       examine the petition to determine:

               (a) Whether the petition falls within the scope of a municipal political
               subdivision’s authority to enact via initiative, including, if applicable, the
               limitations placed by Sections 3 and 7 of Article XVIII of the Ohio Constitution
               on the authority of municipal corporations to adopt local police, sanitary, and
               other similar regulations as are not in conflict with general laws, and whether the
               petition satisfies the statutory prerequisites to place the issue on the ballot. The
               petition shall be invalid if any portion of the petition is not within the initiative
               power; or

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               (b) Whether the petition falls within the scope of a county’s authority to enact via
               initiative, including whether the petition conforms to the requirements set forth in
               Section 3 of Article X of the Ohio Constitution, including the exercise of only
               those powers that have vested in, and the performance of all duties imposed upon
               counties and county officers by law, and whether the petition satisfies the statutory
               prerequisites to place the issue on the ballot. The finding of the board shall be
               subject to challenge by a protest filed pursuant to division (B) of section 307.95 of
               the Revised Code.

O.R.C. § 3501.38(M)(1).

       63. Section 3501.38 also contains technical requirements governing form and processing

of initiative petitions. Examples of such technical requirements include the fact that each signer

must be a registered elector, signatures shall be affixed in ink, and the circulator must sign a

statement under penalty of election falsification.

       64. It is not unconstitutional for the board of elections to examine petitions for

compliance with technical requirements because such review does not require consideration of a

measure’s substance or content.

                       c. O.R.C. § 3501.39 – “Unacceptable petitions”

       65. Section 3501.39(A)(3) re-enforces the unconstitutionally broad scope of the board of

elections’ review authority.

       66. That section requires a board of elections to accept any petition described in section

3501.38 of the Revised Code unless:

       the petition falls outside the scope of authority to enact via initiative or does not satisfy
       the statutory prerequisites to place the issue on the ballot, as described in division (M) of
       section 3501.38 of the Revised Code. The petition shall be invalid if any portion of the
       petition is not within the initiative power.

O.R.C. § 3501.39 (A)(3).

       67. The last sentence of § 3501.39(A)(3) unlawfully permits the board of elections to

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throw out the entire petition if it claims any single portion of it is not within the initiative power,

and serves to further illustrate the problematic pre-enactment review woven throughout Ohio

election law. Indeed, even the judiciary cannot take such draconian actions in reviewing

measures post-enactment, but rather must look to preserve as much of a measure as possible.

        B. Ohio state judiciary’s role in Ohio’s unconstitutional ballot access scheme

        68. The Ohio state judiciary, in interpreting and applying Ohio’s statutory ballot access

scheme, is complicit in Defendant election officials’ unconstitutional pre-enactment review

under Ohio election laws.

        69. For the past several years, the Ohio state judiciary has been reviewing, and with few

exceptions rubber-stamping, Defendant election officials’ unconstitutional substantive, content-

based review. In most cases, it has been doing so in the context of pre-election mandamus

proceedings, in which the scope of review asks not whether the election officials erred in finding

a proposed initiative to be unlawful, but only whether they abused their discretion in so finding.

This means elections officials are able to keep lawful measures off the ballot merely by having an

objection to them that is not completely arbitrary and capricious.

        70. For reasons similar to why election officials should not interfere with proposed

measures pre-enactment, the judiciary must also refrain from interfering with the people’s

lawmaking process, pre-enactment. The judiciary must reserve any such review until after the

proposed measure has been voted upon and enacted into law.

        71. The judiciary cannot review the substance or content of legislation proposed by

legislative bodies, pre-enactment. Nor can the judiciary review whether a bill, pre-enactment, is

‘within the scope of the legislature’s authority to enact.’ Likewise, the judiciary cannot review


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proposed initiatives pre-enactment. To do so violates Plaintiffs’ constitutional rights and the

doctrine of separation of powers, and amounts to an impermissible advisory opinion as to the

validity of a law yet to be enacted.

       C. Ohio’s ballot access scheme unconstitutionally burdens the people’s lawmaking
       by allowing content-based review of proposed measures pre-enactment

       72. A state initiative process provides a uniquely provocative and effective method of

spurring and hosting public debate on an issue of importance to the proponents of the proposed

initiative. See City of Cuyahoga Falls v. Buckeye Community Hope Foundation, 538 U.S. 188,

196 (2003) (“In assessing the referendum as a ‘basic instrument of democratic government,’ we

have observed that ‘[p]rovisions for referendums demonstrate devotion to democracy, not to bias,

discrimination, or prejudice.’ And our well-established First Amendment admonition that

‘government may not prohibit the expression of an idea simply because society finds the idea

itself offensive or disagreeable,’ dovetails with the notion that all citizens, regardless of the

content of their ideas, have the right to petition their government.”).

       73. The Supreme Court has made clear that the process involved in proposing legislation

by means of initiative involves core political speech. See Meyer v. Grant, 486 U.S. 414, 108

S.Ct. 1886, 100 L.Ed.2d 425 (1988) (overturning state's prohibition on using paid petition

circulators); Buckley v. Am. Constitutional Law Found., Inc., 525 U.S. 182, 119 S.Ct. 636, 142

L.Ed.2d 599 (1999) (overturning various registration requirements for petition circulators). In the

area of citizen initiative lawmaking “the importance of First Amendment protections is at its

zenith” and the state's burden to justify restrictions on that process is “well-nigh

insurmountable.” Id. at 424-25.

       74. The mere fact that plaintiffs “remain free to employ other means to disseminate their

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ideas does not take their [preferred means of] speech through [the initiative process] outside the

bounds of First Amendment protection.” Meyer, 486 U.S. at 424.

        75. While the right to pass legislation through initiative or referendum is a state-created

right not guaranteed by the U.S. Constitution, if a state chooses to confer the right of initiative

and referendum to its citizens, it is “obligated to do so in a manner consistent with the

Constitution.” Meyer, 486 U.S. at 420, 108 S.Ct. 1886; Taxpayers United for Assessment Cuts,

994 F.2d 291, 295 (1993) (“[W]e conclude that although the Constitution does not require a state

to create an initiative procedure, if it creates such a procedure, the state cannot place restrictions

on its use that violate the federal Constitution.”).

        76. Pre-enactment substantive review prevents plaintiffs from engaging in First

Amendment protected activity.

        77. Pre-enactment substantive review imposes severe restrictions on ballot access because

it involves direct regulation of, and interference with, the petition process itself by injecting

substantive review, by the election officials or the judiciary or both, into the middle of the

process – after signature gathering and before the election --- as a means of keeping proposed

measures off the ballot.

        78. Pre-enactment substantive review unlawfully interferes with core political speech in a

manner equal to or greater than regulations that inhibit the circulation of initiative petitions. See

Meyer, 486 U.S. at 421-22 (“the circulation of a petition involves the type of interactive

communication concerning political change that is appropriately described as ‘core political

speech.’”).

        79. Pre-enactment substantive review “limits the number of voices” conveying the


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message about a proposed measure and “the size of the audience” reached because it prevents

measures from being placed on the ballot. See Meyer, 486 U.S. at 422–23.

       80. Pre-enactment substantive review makes it extremely difficult, and often impossible,

to place proposed measures that are politically controversial on the ballot, thereby eliminating all

campaigning regarding the measure from the time of Defendants’ unlawful interference in the

process up to election day. See Meyer, 486 U.S. at 422–23; Buckley v. American Constitutional

Law Foundation, Inc., 525 U.S. 182, 197 (1999) (finding restrictions on the ballot initiative

process unconstitutional where they “cut[ ] down the number of message carriers in the ballot-

access arena without impelling cause.”)

       81. Pre-enactment substantive review makes it extremely difficult, and often impossible,

to place proposed measures that are politically controversial on the ballot, thereby depriving

voters of the opportunity to vote on such measures.

       82. Ohio has deviated far from the guiding principles imposed by the Supreme Court in

Williams v. Rhodes, 393 U.S. 23, 30–31, 89 S.Ct. 5, 10, 21 L.Ed.2d 24 (1968) – a case reviewing

Ohio’s electoral scheme. The Williams Court explained “the interwoven strands of ‘liberty’

affected by ballot access restrictions”:

       In the present situation the state laws place burdens on two different, although
       overlapping, kinds of rights—the right of individuals to associate for the advancement of
       political beliefs, and the right of qualified voters, regardless of their political persuasion,
       to cast their votes effectively. Both of these rights, of course, rank among our most
       precious freedoms.

See Williams v. Rhodes, supra, 393 U.S., at 31, 89 S.Ct., at 10 (“the right to form a party for the

advancement of political goals means little if a party can be kept off the election ballot and thus

denied an equal opportunity to win votes”); id., at 41, 89 S.Ct., at 15 (Harlan, J., concurring in


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the result) (“by denying the appellants any opportunity to participate in the procedure by which

the President is selected, the State has eliminated the basic incentive that all political parties have

for conducting such activities, thereby depriving appellants of much of the substance, if not the

form, of their protected rights”); Illinois State Board of Elections v. Socialist Workers Party, 440

U.S. 173, 186 (1979) (“an election campaign is a means of disseminating ideas as well as

attaining political office.... Overbroad restrictions on ballot access jeopardize this form of

political expression.”).

        82. Content-based review that prevents measures from being placed on the ballot

implicates voters’ fundamental political right to vote. See NAACP v. Alabama, 357 U.S. 449,

460, 78 S.Ct. 1163, 1170, 2 L.Ed.2d 1488 (1958) (Justice Harlan stated that it “is beyond debate

that freedom to engage in association for the advancement of beliefs and ideas is an inseparable

aspect of the ‘liberty’ assured by the Due Process Clause of the Fourteenth Amendment, which

embraces freedom of speech.”).

        83. Ballot initiative petitioners and all voters are deprived of their rights to political

speech when they cannot campaign for a particular measure or vote for it because either the

legislature, executive or the judiciary has kept the measure off of the ballot.

        84. Plaintiffs’ experience with Ohio’s ballot access scheme illustrates the effect it has on

reducing speech by severely and arbitrarily restricting ballot access. If allowed to continue, this

chilling effect will continue to destroy the constitutional initiative process entirely.

        85. By looking into the substance of proposed measures, Defendants perpetuate a ballot

access scheme that unconstitutionally regulates the exchange of ideas about political changes

sought through the initiative and referendum process.


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       86. Defendants cannot justify the severe burden imposed on political expression by

Ohio’s ballot access scheme. Ohio has neither a compelling nor an important interest in

executive or judicial oversight of the content of the proposed measure prior to an election.

       87. Questions regarding the validity of a proposed measure, once enacted, may be

addressed, just as with legislation passed by the legislature, post-enactment.

       88. Substantive, content-based review pre-enactment violates the First Amendment.

       A. Ohio’s ballot access scheme violates the people’s right of local, community self-
       government

       88. The right of local, community self-government is an inherent, fundamental, and

constitutionally based political right of people. It is a right held individually, and exercised

collectively, by all eligible electors of a local government. As the right is fundamental,

government may not infringe it without satisfying strict scrutiny.

       89. The American Declaration of Independence secures the right of local, community

self-government by recognizing four principles of law essential to American governments: first,

that people possess certain fundamental civil and political rights; second, that governments are

created to secure those rights; third, that governments owe their existence to, and derive their

power exclusively from, the community of people which creates and empowers them; and fourth,

that if government becomes destructive of those ends, the people have both a right and a duty to

alter or abolish that system of government, and replace it with a system of government that

recognizes self-governing authority and that protects the people’s civil and political rights.

       90. The right of local, community self-government includes three component rights: (1)

The right to a system of government within the local community that is controlled by a majority



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of its citizens; (2) The right to a system of government within the local community that secures

and protects the political and civil rights of every person in the community; and (3) The right to

abolish any system of local government that infringes these component rights, and to reconstitute

local government in a form that secures and enforces them instead. These rights are embedded in

the founding theory and documents of American government.

       91. The right of local, community self-government, including its component rights, is

inherent and unalienable. It derives necessarily from the fundamental principle that all political

power is inherent in the people, and is exercised by them, for their benefit, and subject to their

control.

       92. The United States Constitution secures the right of local, community self-government,

by incorporating the principles of the American Declaration of Independence in the Preamble and

its structure, by securing the right of local, community self-government through the Ninth

Amendment, and by preventing states from violating the right via the substantive due process

protection in the Due Process Clause of the Fourteenth Amendment.

       93. The Ohio Constitution also recognizes the right of local, community self-government.

In the leading Ohio precedent, Federal Gas & Fuel Co. v. City of Columbus, 96 Ohio St. 530,

118 N.E. 103 (1917), the Ohio Supreme Court, led by Justice Wanamaker, explained:

       The historical fact is that we had a hundred and more municipalities in Ohio already in
       existence at the time of the adoption of our first constitution, in 1802 . . . . All were then
       exercising local self-government. The constitutional fathers did not even mention
       municipalities or cities in the first constitution, and in the second constitution [of 1851]
       granted to the general assembly certain power to restrict, from all of which it would seem
       a mere legal and constitutional axiom that they never granted, nor intended to grant, to the
       general assembly of Ohio the general guardianship of all municipalities.
       If all political power is inherent in the people, as written in our constitution, for the
       government of the state, it would seem at least of equal importance that all political
       power should be inherent in the people for the government of our cities and villages and

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          so it seemed to men like Thurman, Ranney, Cooley and Campbell, than whom there have
          been few greater in American jurisprudence. I prefer to follow their course of reasoning,
          based upon historical fact and political principles, rather than the mere dictums and
          dogmas of decisions holding that municipal government is government by the general
          assembly.

Id. at 534-35. Federal Gas established local, community self-government in Ohio as a core

political right of people to govern their local communities.

          94. Ohio’s ballot access scheme violates the right of local, community self-government,

as expressed through the exercise of direct democracy, by placing unlawful blockades,

insurmountable hurdles, and arbitrary and irrational procedures between the people of Ohio and

their exercise and enjoyment of direct democracy.

                                   GENERAL BACKGROUND

          95. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), 3501.39(A)(3)

unlawfully permit Defendants to conduct substantive review of proposed measures, pre-

enactment.

          96. Defendants have otherwise been engaging, and continue to engage, in unlawful

content- based, substantive review under the guise that Defendants may consider whether a

proposed measure is within a county’s or municipality’s “scope of authority” or whether it is

legislative or administrative in nature.

          97. Defendants Secretary LaRose and former Secretary of State Husted before him, and

the Defendants boards of elections have kept, and continue to keep, proposed measures off the

ballot by reviewing the content and substance of proposed measures before they are placed on the

ballot.

          98. Ohio’s statutory ballot access scheme enables the Ohio state judiciary to be complicit


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in this unconstitutional content-based pre-enactment review.

        99. The only constitutionally permissible role for Defendants is minimal. Defendants may

consider whether the petition to place a proposed measure on the ballot is timely filed, whether

the form of the petition is proper, and whether the petition contains a sufficient number of

signatures. See O.R.C. § 3501.38 (requiring petitions to be signed by electors qualified to vote on

the issue. Signatures must be made in ink; each signer must place on the petition the signer’s

name, date of signing, and location of voting residence. The petitions must have, on each paper,

the circulators’ indication of number of signatures and the circulators’ statement that they

witnessed the signatures of qualified signers. And the Petition must be submitted with all part

petitions at one time); see also O.R.C. § 731.28.

        100. Defendants may not consider the content or substance of proposed measures. Yet,

Defendants have done so, and will continue to do so, absent a Court order declaring such

statutes, regulations, policies, and practices unlawful and unconstitutional.

        101. The dangers of pre-enactment review of the content and substance of proposed ballot

measure are numerous and apparent.

        102. Content-based, substantive pre-election review means that petitioners are prevented

from engaging in pre-enactment informational campaigns and that voters are prevented from

having the right to vote on proposed measures.

        103. Content-based, substantive pre-enactment review violates separation of powers in

two ways. It allows the Defendants to usurp the role of the judiciary, which is to review the

substance and content of proposed measures after such proposed measures have been enacted

(post-election). It also interferes with the people’s right to exercise the legislative function of


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proposing and adopting laws.

        104. The result of Ohio’s unlawful ballot access scheme is clear: Plaintiffs are faced with

unconstitutional hurdles and arbitrarily inconsistent results in attempting to have proposed

measures placed on the ballot.

        105. The arbitrary results stemming from the unconstitutional and inconsistent scope of

pre-enactment review engaged in by Ohio election officials and the judiciary as part of Ohio’s

ballot access scheme is well-documented and undisputable.

        106. For instance, the County Commissioners Association of Ohio recognizes that the

discretion currently afforded Defendants to conduct pre-enactment review leads to arbitrary and

inconsistent results. The Commissioners’ Handbook chapter on county government structures

notes that: “Care should be taken in using this Chapter for definitive guidance because the case

law and interpretations of these provisions are limited and often contradictory.” County

Commissioners Association of Ohio, Ohio County Commissioners' Handbook, Ch. 2, p. 3

(emphasis added). In the specific background to follow, plaintiffs illustrate the arbitrary results at

issue in this case.

        107. Absent a bright line rule prohibiting the substantive, content-based pre-enactment

review currently permitted by Ohio’s ballot access scheme, violations of the people’s

constitutional rights will continue.

                                   SPECIFIC BACKGROUND

Frackfree Mahoning Valley

        108. In 2011, citizens formed the grassroots organization that became Frackfree

Mahoning Valley. Frackfree Mahoning Valley is a group of residents who came together out of


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concern for their community and environment. Its mission is to protect the Health and Safety of

the Citizens of Youngstown Ohio by amending the home rule city charter with a Citizens’ Bill of

Rights to protect drinking water, homes and air quality in order to put permanent protections in

for Public Health and Safety so citizens can protect their drinking water, their air and their land.

Plaintiffs Beiersdorfer and Hunter have been, and are part of, Frackfree Mahoning Valley.

        109. Plaintiffs Beiersdorfer and Hunter, and other residents who are part of Frackfree

Mahoning Valley, have attempted to exercise the right to initiative by preparing and collecting

signatures for proposed amendments to the Youngstown Municipal Charter. The proposed

charter amendments have addressed such issues as community rights, a ban on horizontal

hydraulic fracturing (fracking) for oil and gas, the right to clean water, and the right to free and

fair elections.

        110. In attempting to place proposed charter amendments on the ballot, Plaintiffs

Beiersdorfer and Hunter, and other proponents of these initiatives, have faced repeated

unconstitutional review by election officials and arbitrary and inconsistent results by both

election officials and the Ohio courts.

        111. As a result of unconstitutional pre-election review, members of Frackfree Mahoning

Valley have been forced to file lawsuits in state court challenging election officials’ actions

several times since 2013. Plaintiffs Beiersdorfer and Hunter have each been involved in these

lawsuits.

        112. In 2017, Plaintiffs Beiersdorfer and Hunter, along with other members of the petition

committee, were again forced to file lawsuits challenging Defendant Mahoning BOE’s unlawful

pre-election review of the Youngstown Drinking Water Protection Bill of Rights and the


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People’s Bill of Rights for Fair Elections and Access to Local Government.

        113. Defendant Mahoning BOE unlawfully reviewed the substance of the proposed

charter amendments and concluded that they exceeded Youngstown's legislative power by

creating new cause of actions, which was only one portion of the proposed charter amendment.

The new causes of action would have allowed citizens to enforce their rights “through nonviolent

direct action or by filing suit as a private attorney general.”

        114. In refusing to place the proposed initiatives on the ballot, the Mahoning BOE relied

on the election law amendments made by House Bill 463.

        115. Plaintiffs Beiersdorfer and Hunter participated in the ensuing mandamus action in

state court challenging the Mahoning BOE’s unlawful pre-election review of the Youngstown

Drinking Water Protection Bill of Rights and the Drinking Water Protection Bill of Rights, and

the BOE’s decision to keep these proposed measures off of the ballot.

        116. In State ex rel. Flak v. Betras, 152 Ohio St.3d 244, 95 N.E.3d 329, 2017-Ohio-8109

(2017), a 4-3 ruling, the petition committee lost at the Ohio Supreme Court, because the court

deferred to Defendant Mahoning BOE's substantive review of the proposed charter amendments

and upheld its decisions under an abuse of discretion standard of review.

        117. In contrast, the Ohio Supreme Court reached the opposite result for a substantially

similar ballot initiative advanced that same year in the City of Bowling Green. In that case, the

Wood County BOE voted to place a bill of rights with similar language on the ballot, unlike the

Mahoning BOE which voted to keep the measure off the ballot. Another party challenged the

board of election’s determination, but the Ohio Supreme Court upheld it, largely because it

afforded deference to the board of election’s decision.


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        118. As a result, the people in Bowling Green enjoyed a greater right to initiative than the

people in Youngstown.

        119. By creating a bright line rule which eliminates all substantive, content-based review,

the right to initiative is consistently safeguarded for all Ohioans.

        120. In the few instances in which Plaintiffs as proponents of proposed charter

amendments have succeeded in getting a court order requiring placement of the proposed

initiative on the ballot, their right to initiative has still been compromised.

        121. The broad discretion afforded by unlawful content-based review results in arbitrary

and inconsistent criteria applied by the Mahoning BOE in reviewing proposed charter

amendments. Initiative proponents are subjected to an inadequate and unfair process, as part of

which, even after spending hundreds of hours gathering signatures, whether a measure will be

placed on the ballot is, at best, unpredictable.

        122. Pre-enactment litigation results in unlawful content-based review of proposed

charter amendments and imposes prior restraint on initiative proponents’ free speech rights. Even

in the rare circumstances where initiative proponents ultimately prevail in mandamus actions, the

expense and delay as a result of pre-enactment litigation interferes with direct democracy,

political speech, and ballot access.

        123. On April 24, 2018, for instance, while the petition committee ultimately prevailed in

its mandamus action, the Ohio Supreme Court did not order placement of the charter amendment

onto the ballot until just two weeks before the election. See State ex rel. Khumprakob v.

Mahoning County Board of Elections, 2018-Ohio-1602, 2018-0404. By that time, election

officials had already printed thousands of ballots without the proposed charter amendment on


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them. Nor did initiative proponents have sufficient time to campaign against heavily funded

opposition interests. The measure lost by a narrow margin, 3,649 to 2,928.

        124. The April 2018 scenario illustrates the detrimental impact that occurs when

substantive pre-enactment review by election officials necessitates court action. The resulting

delay and expense effectively deprives Plaintiffs of their right to meaningful ballot access.

        125. The same problematic delay also occurs with any type of content-based review by

the judiciary.

        126. Later in 2018, Plaintiff Beiersdorfer again served on the petition committee for

the proposed Drinking Water Protection Bill of Rights. Plaintiffs Beiersdorfer and Hunter both

again collected signatures for this proposed charter amendment that contained the exact same

language as the April 2018 measure. Plaintiffs spent a significant amount of time and resources.

        127. The BOE waited until nearly the last possible day to certify it for placement on the

ballot. The group was successful in placing the proposed charter amendment on the November

2018 ballot only because of the court case they had fought and won earlier that year.

        128. Plaintiffs realize that any future initiatives are highly unlikely to be placed on the

ballot, particularly without expending significant resources to defend them. At best, it is highly

uncertain whether a future initiative will or will not be placed on the ballot because there are no

consistent rules or processes.

        129. Defendants’ inconsistent and arbitrary content-based review of the proposed charter

amendment is unconstitutional.

        130. Absent a court order protecting Plaintiffs' constitutional rights, Defendants, and

Ohio’s ballot access scheme enabling pre-enactment review, will continue to unlawfully interfere


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with Plaintiffs' constitutional rights.

Columbus Community Rights Group

          131. Columbus Community Rights Group is a group of residents who came together out

of concern for their community and environment. Its mission is to ensure Pure Water, Clean Air,

Safe Soil and Local Control over Fracking and Frack Waste. Plaintiff Pace is a founding member

of the Columbus Community Rights Group, and Plaintiff Lyons joined the effort in 2015.

          132. In Columbus, on June 26, 2018, a Petition Committee, which included Plaintiffs

Lyons and Pace, submitted 617 part-petition forms containing 18,404 signatures to the Columbus

City Clerk in support of placement of a Proposed Ordinance on the ballot, titled “Community

Bill of Rights for Water, Soil and Air Protection and to Prohibit Gas and Oil Extraction and

Related Activities and Projects” (“Columbus BOR”).

          133. The proposed Columbus BOR ordinance contained a comprehensive community bill

of rights that, among other things, declares that Columbus citizens possess rights to local,

community self-government, potable water, clean air, safe soil, peaceful enjoyment of home,

freedom from toxic trespass, and a sustainable energy future, and endows natural communities,

including wetlands, streams, and rivers, with the rights to exist and flourish within the City of

Columbus.

          134. On July 9, 2018, the Franklin County Board of Elections notified the Columbus City

Council that it had determined at least a total of 12,134 signatures to be valid signatures of

registered voters, which exceeded the signature threshold required to qualify the initiative to the

ballot.

          135. On July 30, 2018, the Columbus City Council unanimously passed Ordinance No.


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2244-2018 after three readings which instructed the Franklin County BOE to put the Columbus

BOR on the November 6, 2018 ballot. The City delivered the ordinance to the BOE on August 1,

2018.

         136. On August 24, 2018, the Franklin County BOE voted 4-0 to reject the Columbus

BOR from the ballot for the reason that the “initiative petition proposing the Community Bill of

Rights is invalid and that the provisions of the petition fall outside the scope of a municipal

political subdivision's authority to enact by initiative because of limitations placed by Sections 3

and 7 of Article XVIII of the Ohio Constitution, noting the particular bases that the proposal calls

for the regulation of oil and gas extraction and transportation, the regulation of corporations, and

the creation of new causes of action.”

         137. Board of Elections member Brad K. Sinnott, a practicing corporate lawyer in

Columbus, uniquely summarized the unconstitutional commands of O.R.C. §§ 3501.11(K) and

3501.38(M) wrought by passage of House Bill 463 in 2016 this way:

         Now, before describing what the General Assembly has instructed us to do in this
         instance, I will note a couple of things that have occurred to me as I reflected on this
         matter. First, the instruction given to us by the General Assembly is one that a Board of
         Elections is ill-equipped to follow. It's an instruction to perform a highly technical and
         complicated legal analysis relative to, among other things, the Home Rule provisions
         of Ohio's Constitution.

         The members of the Board of Elections in this state are generally not lawyers. Where
         there are lawyers serving on boards, as is true of me, we sit as co-equal members of the
         board and we're not practicing law on behalf of the board. The boards have no legal
         staff. The boards have no legal research capabilities. We have on staff no legal
         researchers or writers. The making of the determination required by the current
         statutes is a task ill-suited for a Board of Elections. Were I a legislator, I would vote
         against the adoption of such statutes.

         I also share the concerns of the three justices who joined in the lead opinion in Espen,
         relative to the constitutionality of the statutes. It's hard to imagine a more clear
         instruction to an administrative body that it perform the judicial function of assessing

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        the constitutionality of a statute enacted by the General Assembly. If I were a judge, I
        would hold the statutes unconstitutional, but I'm here today neither as a legislator nor a
        judge. I'm here today as a member of a county board of elections.

BOE Tr. 4-6 (Emphasis added).

        138. Sinnott proceeded, nonetheless, to sponsor the motion to reject the Columbus BOR

from the ballot, and to join the unanimous voice vote against it.

        139. The Petition Committee sought expedited review under Ohio Supreme Court Rule of

Procedure 12.08. The Ohio Supreme Court however, denied the writ of mandamus, holding that

the Board of Elections had “clearly acted within their discretion by rejecting the petition because

it would create new causes of action.” State ex rel. Bolzenius v. Preisse, 2018-Ohio-3708, ¶ 12.

        140. The fact that Defendant Franklin County BOE and the Ohio judiciary engaged in

content- based pre-enactment review to keep the Columbus BOR off of the ballot violated

Plaintiffs’ First Amendment rights and the separation of powers doctrine.

        141. Absent a court order protecting Plaintiffs' constitutional rights, Defendants, and

Ohio’s ballot access scheme enabling executive and judicial pre-enactment review, will continue

to unlawfully interfere with Plaintiffs' constitutional rights.

Toledoans for Safe Water

        142. In 2016, Toledoans who were appalled at the continued lack of a meaningful

response to the 2014 Toledo Water Crisis, where toxins from a gigantic algae bloom in Lake Erie

caused shutdown of the regional drinking water supply, founded the grassroots organization,

Toledoans for Safe Water (“TSW”). The emergency termination of water service in 2014 to

500,000 people for 3 full days from agricultural nutrient pollution had garnered headlines on five

continents, but the regulatory solutions to the obvious problem were distinctly underwhelming,


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superficial and short-range. TSW’s activist membership came together over concern for the

worsening condition of Lake Erie water quality.

        143. TSW determined to circulate a petition introducing the Lake Erie Bill of Rights

(“LEBOR”), a city charter amendment with a “rights of nature” component securing a new legal

basis for citizen intervention on the side of protecting the Lake Erie watershed for its sundry

benefits and as a separate entity with standing and a corresponding right to exist.

        144. Plaintiffs Markie Miller and Bryan Twitchell are residents of Toledo who with

others asserted the right to initiative by preparing and collecting signatures for the proposed

LEBOR amendment to the Toledo Municipal Charter from fall 2016 through summer of 2018.

On August 6, 2018, Plaintiffs Miller and Twitchell as well as others in TSW turned in part-

petitions bearing approximately 10,500 signatures to require placement of LEBOR on the next

electoral ballot.

        145. On August 10, 2018, the Lucas County Board of Elections notified the Clerk of

Toledo City Council that at least 6,438 signatures were verified as those of current registered

voters, easily surpassing the minimum requirement of 5,244 registered voter signatures and

meeting the signature threshold required to qualify the initiative to the ballot.

        146. On or about August 14, 2018, the Clerk of Toledo City Council, pursuant to § 5 of

the Toledo Municipal Charter, instructed the BOE to put the LEBOR on the November 6, 2018

ballot for a public vote.

        147. On August 28, 2018, the Board of Elections voted 4-0 to reject the LEBOR from the

ballot because in the opinion of the BOE, the proposed Charter Amendment contains provisions

that are purportedly beyond the scope of the City of Toledo to enact. In reaching its decision, the


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BOE improperly reviewed the substance of the LEBOR, pre-election, claiming that the BOE was

required by decisions of the Ohio Supreme Court to bar the initiative from the ballot.

       148. Plaintiffs Miller and Twitchell, along with the other members of the committee

sponsoring LEBOR, sued the Board of Elections in mandamus before the Ohio Supreme Court,

alleging that the petition was technically valid, sufficient numbers of valid signatures were timely

submitted on petition forms which complied with the requirements of statute, and that the BOE

was prohibited by decisions of the Supreme Court from invalidating municipal initiatives from

the ballot based on substantive evaluations of legality, citing State ex rel. Youngstown v.

Mahoning Cty. Bd. of Elections, 2015-Ohio-3761, ¶ 4, 144 Ohio St. 3d 239, 240 and Morris v.

Macedonia City Council, 71 Ohio St.3d 52, 55, 641 N.E.2d 1075 (1994).

       149. The Ohio Supreme Court ruled in State ex rel. Twitchell v. Saferin, 2018-Ohio-3829,

Case No. 2018-1238 (September 21, 2018) that the Committee of Petitioners failed to show “that

the elections board abused its discretion in keeping the LEBOR off the ballot. The elections

board relied on this court's decision in State ex rel. Flak v. Betras, 152 Ohio St.3d 244, 2017-

Ohio-8109, 95 N.E.3d 329, which held that elections boards are authorized ‘to determine

whether a ballot measure falls within the scope of the constitutional power of referendum or

initiative,’ id. at ¶ 11. . . .” Twitchell ¶ 6. The Court found no “abuse of discretion or disregard of

the law in the election board's reliance on Flak given that Flak also involved proposed

amendments to a city charter.” Id.

       150. Thirteen days later, on October 4, 2018, the Ohio Supreme Court in State ex rel.

Maxcy v. Lucas Cty. Bd. of Elections, 2018-Ohio-4419, 154 Ohio St. 3d 1401, 111 N.E.3d 1

abrogated Flak, 152 Ohio St.3d 244, 2017-Ohio-8109, 95 N.E.3d 329, because it had “confused


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the law by stating that a county board of elections has authority to determine whether a charter

amendment exceeds the scope of authority to enact by initiative” when “boards of elections have

no authority to review the substance of a proposed municipal-charter amendment; therefore, Flak

should no longer be relied on as authority to the contrary.” Id. at ¶ 13.

       151. The fact that Defendant Lucas County BOE and the Ohio judiciary engaged in

content-based pre-enactment review to keep the LEBOR off of the ballot violated Plaintiffs’ First

Amendment rights and runs contrary to the separation of powers doctrine.

       152. The fact that the Ohio Supreme Court abrogated the decision upon which it and

Defendant Lucas BOE originally relied further illustrates the dangers of pre-enactment review by

both election officials and the judiciary.

       153. The consequences of the Ohio Supreme Court’s erroneous holding in State ex rel.

Twitchell v. Saferin, 2018-Ohio-3829, Case No. 2018-1238 (September 21, 2018), in which it

kept LEBOR off of the ballot, reverberate today as Plaintiffs Miller and Twitchell, and other

members of TSW, were forced to continue to fight to place the LEBOR on the ballot.

       154. In light of State ex rel. Maxcy v. Lucas Cty. Bd. of Elections, Defendant Lucas BOE

should been left with no alternative but to certify the LEBOR for placement on the ballot. Yet,

using Ohio’s unconstitutional ballot access scheme, on or about December 10, 2018, a single

individual filed a protest to keep the LEBOR off of the ballot, thereby subjecting Plaintiffs to

more costly and time consuming litigation in an effort to place the LEBOR on the ballot.

       155. Absent a court order protecting Plaintiffs' constitutional rights, Defendants, and

Ohio’s ballot access scheme enabling executive and judicial pre-enactment review, will continue

to unlawfully interfere with Plaintiffs' constitutional rights and violate the separation of powers


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doctrine.

Meigs County Home Rule Committee

       156. In 2015, interested citizens came together to form the Meigs County Home Rule

Committee (“MCHRC”) to draft a proposed charter for county government. Plaintiff Howard

was on the 2015 MCHRC for the proposed charter.

       157. The group circulated initiative petitions for a proposed charter which included

provisions that would have prevented the use of underground injection wells for disposal of

hydraulic fracturing (“fracking”) oil and gas drilling wastes, and implemented water protections.

The aim was to secure ballot placement for the November 2015 general election.

       158. To that end, in early July 2015 the petition committee timely filed petitions with the

Meigs County Board of Elections (“Meigs BOE”) that contained enough signatures for the

initiative vote. The Meigs BOE verified the adequacy of the signature count and sent a letter to

the Meigs County Commissioners to certify the initiative for ballot placement.

       159. Rather than certifying the initiative for ballot placement in a timely fashion, the

Meigs County Commissioners took issue with the language in the letter from the Meigs BOE.

After having delayed its response to the certification request for one week, the Commissioners

claimed that the Meigs BOE letter lacked required language and directives to place the initiative

on the ballot, and refused to do so, instead referring the matter back to the Meigs BOE.

       160. The Commissioners’ delay in responding to the Meigs BOE made it so the Meigs

BOE could not give a final report within the statutory 10-day window. Despite the fact that the

Meigs BOE responded quickly with an amended certification report, at their July 14, 2015

meeting, the Commissioners refused to certify the proposed initiative by their deadline to certify


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which was the next day. The Commissioners’ stated reason was because the Meigs BOE had not

acted within its statutory 10-day window.

        161. The Commissioners used the Meigs BOE’s technical failure to act with finality

before the 10-day statutory deadline -- a failure induced by the Commissioners themselves -- as

their excuse to not comply with their own statutory deadline to certify the initiative for placement

on the ballot.

        162. In 2015, Plaintiff Howard participated as a plaintiff in a lawsuit against Meigs

County Commissioners to place the proposed initiative on the ballot.

        163. More than a year after the Commissioners’ obstructive acts, the Ohio Supreme Court

resolved the matter in the initiative proponents’ favor. In State ex rel. Meigs County Home Rule

Committee v. Meigs County Board of Commissioners, 68 N.E.3d 781, 148 Ohio St.3d 63, 2016-

Ohio-5658 (2016) it held that “when the board of elections ultimately certifies the validity of a

petition and the delay was not the fault of the initiative’s supporters, a writ of mandamus will

issue to place the matter on the ballot.” However, because the Ohio Supreme Court did not

decide the matter until 2016, more than a year after committee petitioners first requested

placement of the county charter initiative on the ballot, it was never presented to voters.

        164. In 2016, the Meigs County Home Rule Committee circulated another initiative

petition for a county charter that contained similar water protections and a related prohibition

against fracking. This time it was then-Secretary of State Jon Husted who prevented the initiative

from being placed on the ballot.

        165. In 2016, Plaintiff Howard was part of a mandamus action against Defendant

Secretary of State seeking a court order requiring him to place the proposed charter on the ballot.


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          166. In that case -- State ex rel. Coover v. Husted, 148 Ohio St.3d 332, 70 N.E.3d 587,

2016-Ohio-5794 (2016) -- the Ohio Supreme Court reinforced the Secretary of State’s unlawful

content-based review and declined to require placement of the Meigs charter proposal on the

ballot.

          167. In upholding the Secretary of State’s unlawful decision, the Court allowed election

officials to discretionarily determine whether a proposed county charter is invalid by reviewing

its content for compliance with the Ohio Constitution.

          168. The supposedly offending provision of the Meigs charter proposal assigned county

governmental officers the powers vested in, and performance of duties imposed upon county

officers by, “general law.” The Court found that to be an insufficient description of Meigs county

officials’ responsibilities, because voters would have to consult legal sources outside the charter

proposal to determine the elected officers’ “duties” purported to be established.

          169. In according such discretion to elections officials, the Ohio Supreme Court permitted

substantive, content-based review of a proposed initiative by election officials, and itself engaged

in impermissible pre-enactment content-based review, in violation of Plaintiffs’ constitutional

rights and the separation of powers doctrine.

          170. The Ohio Supreme Court allowed election officials to arbitrarily interpret the county

initiative provision contained in the Ohio Constitution. Doing so effectively prevents petitioners

from exercising their right to initiative because it is impossible for them to know all of the

requirements that election officials and the courts may impose, pre-enactment, based on their

interpretations.

          171. Indeed, the petitioners in Meigs followed the same format as prior county charters


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that had been allowed to proceed to the ballot. Incorporating “general law” had been accepted

practice until then-Secretary of State Husted suddenly and arbitrarily decided it was not. (And as

covered below in the section on Sustainable Medina County, after twice approving the striking of

ballot initiatives because the proposed charters incorporated county powers and duties imposed

by “general law,” the Ohio Supreme Court in 2017 approved the striking of an initiative because

the proposed charter did not contain such a provision.)

       172. Defendants’ content-based and legal review of the proposed charters – which also

happens to be inconsistent and arbitrary -- is unconstitutional.

       173. Despite the moving target that is the pre-enactment application of purported

constitutional requirements by election officials, the MCHRC revised its proposed charter in an

attempt to address the contradictory and vague directions given in previous court decisions.

       174. In 2018, Plaintiff Howard and other members of the MCHRC actively solicited

signatures for a third attempt at a county charter to put on the 2019 general election ballot.

       175. Absent a court order protecting Plaintiffs' constitutional rights, Defendants, and

Ohio’s ballot access scheme enabling pre-enactment executive and judicial review, will continue

to unlawfully interfere with Plaintiffs' constitutional rights and violate the separation of powers

doctrine.

Athens Community Bill of Rights Committee

       176. The Athens Community Bill of Rights Committee (“ACBORC”) formed in 2013 as

a coalition of activists concerned about oil and gas hydraulic fracturing and the practice of using

injection wells for disposal of its wastes on the county’s water supply. Plaintiffs Bryant and

Wiley are active members of ACBORC.


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       177. In 2015, the ACBORC decided to propose a county charter since much of the waste

injection was going into townships outside the city limits. The ACBORC circulated petitions and

submitted the proposed county charter for ballot placement.

       178. The Athens County BOE refused to certify the proposed county charter for

placement on the ballot. After the ACBORC lodged a formal protest, the BOE forwarded the

protest to the Secretary of State’s office for review.

       179. Then-Secretary of State Jon Husted refused to put the Athens County Charter

proposal on the ballot for two reasons: (1) the proposal failed to create an “alternative form of

government” by not providing for the election or appointment of a county executive or any

change in the structure of county government; and (2) the substantive prohibition on hydraulic

fracturing in the proposal conflicted with exclusive pre-emptive authority of the State of Ohio to

regulate oil and gas operations in Ohio.

       180. ACBORC, along with county charter bill of rights committees in Medina and Fulton

Counties, filed a mandamus action in the Ohio Supreme Court.

       181. The Court refused to order placement of the proposed measures on the ballot,

thereby allowing election officials to serve as “gatekeepers” in violation of the First Amendment.

State ex rel. Walker v. Husted, 144 Ohio St.3d 361, 43 N.E.3d 419, 2015-Ohio-3749 (2015).

       182. In 2016, ACBORC mobilized again with a somewhat modified county charter

proposal, attempting to address the Court’s cryptic instructions as to the minimum requirements

for a charter amendment.

       183. When presented to the Athens County BOE to be certified for placement on the

ballot, the BOE conducted an impermissible content-based review and rejected the petition based


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on its content in particular, because it supposedly failed to alter the form of government, failed to

vest powers from the municipalities and townships with the county, and relied on the Ohio

Revised Code to determine the qualifications and salaries of elected officials.

       184. The Ohio Supreme Court again denied ballot access by upholding the Athens

County BOE’s unconstitutional content-based review and by engaging in its own

unconstitutional pre-enactment content-based review. State ex rel. Coover v. Husted, 148 Ohio

St.3d 332, 70 N.E.3d 587, 2016- Ohio-5794, ¶ 17 (2016).

       185. In 2017, the Athens Committee continued to campaign for a county charter

containing a community bill of rights. The Athens Committee again made some substantive

changes to the content of the proposed county charter in an effort to accommodate the arbitrary

standards imposed by election officials and in anticipation of the judiciary’s unlawful content-

based review.

       186. The Athens County BOE yet again unanimously refused to certify the petition to the

November 2017 general election ballot. After conducting an unconstitutional content-based

review, the BOE concluded that the proposed county charter did not adequately provide for an

alternative form of county government, that the charter contained provisions that are outside the

initiative power because they are not within a county’s authority to enact, and that the proposal

failed to provide for the exercise of all powers and duties of county government.

       187. After achieving no relief by protesting the BOE’s decision to Defendant Ohio

Secretary of State, ACBORC, along with the petitioning committee in Medina County (which, as

alleged below, had been similarly rebuked in petitioning for a county charter with a community

rights component) sued their respective boards of elections in mandamus. In the resulting


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decision, State ex rel. McGinn v. Walker, 87 N.E.3d 204, 151 Ohio St.3d 199, 2017-Ohio-7714, ¶

17 (2017), the Ohio Supreme Court affirmed the Boards of Elections, and was once again

complicit in unconstitutional pre-enactment content-based review.

       188. Defendants’ inconsistent and arbitrary content-based and legal review of the

proposed charters is unconstitutional.

       189. Absent a court order protecting Plaintiffs' constitutional rights, Defendants, and

Ohio’s ballot access scheme enabling pre-enactment executive and judicial review will continue

to unlawfully interfere with Plaintiffs' constitutional rights and violate the separation of powers

doctrine.

Sustainable Medina County

       190. Sustainable Medina County (“Sustainable Medina”) is an unincorporated community

group of concerned residents that was founded in 2014, with all members resident in Medina

County, Ohio. The group advocates for local, direct democratic control over energy policy and

fossil fuel projects taking place within the county. Sustainable Medina’s members have

continuously opposed construction of the NEXUS, LLC gas mega-pipeline across northern Ohio

and through Medina County because of the environmental damage it has induced and because it

contradicts the public interest.

       191. Plaintiffs Jones and Dolcini actively participate in Sustainable Medina, collecting

signatures and coordinating the efforts.

       192. Starting in 2015, Sustainable Medina members annually drafted and proposed three

county charters to alter the form of government in Medina County. In 2015, 2016 and 2017,

Sustainable Medina members gathered, on average, more than 6,000 signatures annually to place


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those proposals on the ballot.

        193. The county charters were intended to empower county officials to create and pass

local legislation, and to institute a charter county that extended the right to initiate legislation to

residents of unincorporated parts of the county.

        194. Sustainable Medina County’s charters reformed county government offices and

responsibilities and further included provisions creating the rights of nature; prohibited hydraulic

fracturing for oil and gas (fracking) in the county; prohibited injection wells for disposal of oil

and gas wastes; and banned commercial transport pipelines from traversing Medina County.

        195. In 2015, 2016, and 2017 Plaintiff Jones served on petition committees, collected

signatures, and was named on legal filings.

        196. Plaintiff Dolcini has been similarly involved for multiple years by either serving on

petition committees, collecting signatures, or by being a party to legal filings.

        197. In July 2015, Sustainable Medina County submitted its first initiative petition for a

proposed county charter to Defendant Medina BOE. After Defendant Medina BOE certified the

petition to then-Secretary Husted’s office, an individual opposed to the measure filed a protest.

        198. On August 13, 2015, then-Secretary Husted upheld the protest, invalidated the

petition, and ordered that the charter proposal not appear on the general election ballot.

        199. Plaintiffs Jones and other members of Sustainable Medina sued in mandamus in the

Ohio Supreme Court. State ex rel. Walker v. Husted, 144 Ohio St.3d 361, 43 N.E.3d 419, 2015-

Ohio-3749 (2015).

        200. In the resulting decision, the Ohio Supreme Court affirmed Defendant election

officials and was complicit in unconstitutional pre-enactment content-based review. The Court


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incorrectly found in favor of then-Secretary Husted, upholding his content-based review to

conclude that a provision incorporating general law by reference did not satisfy a newly imposed

requirement that a charter must contain within its four corners an adequate description of the

form of proposed county government, and did not contain an explanation of which county

officers shall be elected and the manner of their election.

       201. Undaunted, but frustrated, in 2016, Sustainable Medina circulated a modified county

charter petition. The group filed sufficient signatures on a county charter initiative for

certification to the November 2016 ballot.

       202. Defendant Medina County BOE split, 2-2 on the certification question, which

necessitated that the matter be forwarded to then-Secretary Husted for resolution. Secretary

Husted broke the tie by engaging in unconstitutional content-based review and concluding that

the proposed charter did not provide for the performance of all duties imposed on county officers

by general law and did not establish a structural change in the county government–something

which the Ohio Constitution does not require.

       203. Plaintiffs again sued in the Ohio Supreme Court for mandamus relief. State ex rel.

Jones v. Husted, 65 N.E.3d 733, 147 Ohio St.3d 341, 2016-Ohio-5681 (2016).

       204. This time Plaintiffs were confronted with the imposition of ad hoc and inadequate

procedures in violation of their First Amendment rights. The Ohio Supreme Court declined to

consider Plaintiffs’ arguments as to why the proposed measure should have been placed on the

ballot; instead, they faulted petitioners for failing to pursue their “adequate remedy in the

ordinary course of law”, namely, either (1) a protest of the board's decision before the secretary

of state under O.R.C. § 307.95 or (2) a request that the BOE bring an action in the common pleas


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court to establish the validity of the petition under O.R.C. § 307.94. Id. at 344. Because the time

had elapsed for the pursuit of either remedy, petitioners, including Plaintiff Jones, were denied

ballot access.

       205. A bright-line rule against content-based pre-enactment review would have headed

off the assault on Plaintiffs’ ability to exercise their citizen lawmaking power in accordance with

the First Amendment.

       206. In 2017, Sustainable Medina introduced a new, modified county charter proposal

seeking a restructuring of the county government and legislating of a local bill of rights that

included a ban on natural gas mega-pipelines. The proposed county charter included a detailed

description of powers and duties of each elected official. Unlike in prior years, the proposed

charter did not incorporate powers and duties by reference to general law, because for two years

in a row, the Ohio Supreme Court said that was impermissible, that the charter must contain

everything within its four corners.

       207. Yet, Defendant Medina County BOE voted 3-1 against certification of the petition

because, based on its impermissible content-based review, the proposed charter did not

adequately provide for an alternative form of county government, and further, because the

proposal supposedly contained provisions outside of the initiative power as not falling within a

county’s authority to enact.

       208. Sustainable Medina protested the Medina County BOE’s decision to then-Secretary

of State Husted, who declined to rule on it because he believed that the petitioners were

precluded from protesting further by having contemporaneously pursued the O.R.C. § 307.94

common pleas hearing option, thereby foreclosing any other option.


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       209. Sustainable Medina County joined with the Athens County Bill of Rights Committee

to sue for mandamus in State ex rel. McGinn v. Walker, 87 N.E.3d 204, 151 Ohio St.3d 199,

2017-Ohio-7714 (2017).

       210. The Ohio Supreme Court engaged in its own unconstitutional pre-enactment

content- based review to impose a new rule requiring the Medina charter proposal to contain a

“catch-all provision” which incorporated by reference all duties of county officials not

specifically spelled out in the proposal. Id. at ¶¶ 22, 23. This ruling was irrational, arbitrary, and

capricious, as it was directly contrary to the Court’s ruling the prior two years, in which it had

said that inclusion of catch-all provisions in the proposed charters was not allowed, because the

charter must contain everything within its four corners.

       211. Sustainable Medina had simultaneously pursued non-mandamus relief in the Medina

County Common Pleas Court as provided by O.R.C. § 307.94, but was denied any relief.

       212. That court affirmed Defendant Medina County BOE, and Sustainable Medina

promptly appealed to the Ninth Ohio District Court of Appeals. County Charter Proposal

Committee of Petitioners v. Medina County Board of Elections, Ninth Dist. Ct. App. No.

17CA0055.

       213. Despite the matter having been placed on the Court of Appeals’ accelerated docket

for disposition, a ruling of mootness was entered on October 6, 2017, based on the Ohio Supreme

Court’s ruling in McGinn (the mandamus action), dated September 21, 2017. Charter Proposal

Committee of Petitioners v. Medina County Board of Elections, Ninth Dist. Ct. App. No.

17CA0055 (Oct. 6, 2017) (Slip op.).

       214. Sustainable Medina County moved the Ohio Supreme Court to certify the case based


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on arguments the appellate court had declined to decide when it ruled the appeal moot. The

Supreme Court declined to certify the case, leaving important issues unaddressed by any court

and keeping the charter off the ballot. County Charter Proposal Committee of Petitioners v.

Medina County Board of Elections, 96 N.E.3d 299, 2018-Ohio-1600 (S.Ct. 2018).

        215. Plaintiffs’ inability to obtain effective redress in the courts further illustrates the

need for a bright-line rule against content-based pre-enactment review whether by election

officials or the judiciary.

        216. Defendants’ inconsistent and arbitrary content-based and legal review of the

proposed charters is unconstitutional.

        217. Absent a court order protecting Plaintiffs' constitutional rights, Defendants and

Ohio’s ballot access scheme enabling pre-enactment executive and judicial review will continue

to unlawfully interfere with Plaintiffs' constitutional rights and violate the separation of powers

doctrine.

Portage Community Rights Group

        219. In 2011, a grassroots group concerned about the community’s water, air, and soil

emerged in Portage County, Ohio. In 2015, the group officially became the Portage County

Community Rights Group. The Portage County Community Rights group came together to

initiate and sponsor a vote on a proposal to convert the Portage County government to a charter

form. Besides altering the structure of county government, the new charter contained

prohibitions on fracking and injection well usage to dispose of fracking-related wastes.

        220. Plaintiffs Fischer and Rae are part of the Portage Community Rights Group and have

served on petition committees and collected signatures for petitions, and Plaintiff Fischer has


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been named on legal filings.

        221. In July 2016, Plaintiffs and the group turned in petitions containing at least 4,283

valid signatures.

        222. Defendant Portage BOE engaged in unconstitutional content-based review and voted

to keep the proposal off the ballot because the governmental structure ostensibly did not provide

for a county executive position (a requirement manufactured by Defendant Portage County

BOE).

        223. The group timely filed a protest with then-Secretary Husted.

        224. On August 15, 2016, then-Secretary Husted issued a decision denying the protest

and instructing the Portage County BOE to not place the proposed Portage county charter on the

ballot. In denying relators' protests, Secretary Husted reasoned that the petitions were invalid

because the proposed charter failed to provide for the performance of all duties imposed on

county officers and because the proposed charter failed to provide for either an elective or

appointive county executive.

        225. The Portage County Community Rights Group, including Plaintiff Fisher, sought

relief in mandamus in the Ohio Supreme Court.

        226. In State ex rel. Coover v. Husted, 148 Ohio St.3d 332, 70 N.E.3d 587, 2016-Ohio-

5794 (2016), the Ohio Supreme Court itself engaged in unconstitutional content-based review

and affirmed the unlawful principle that Defendants elections officials may discretionarily

determine whether a proposed county charter is invalid by reviewing its substance and

concluding that it does not set forth the form of government being proposed.

        227. In 2017 the Portage County Community Rights Group again circulated petitions, but


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fell short of collecting the required number of signatures by the deadline.

       228. In 2018, the group, including Plaintiffs Fischer and Rae, began actively collecting

signatures aimed at putting a county charter proposal on the 2019 general election ballot.

       229. Defendants’ inconsistent and arbitrary content-based and legal review of the

proposed charters is unconstitutional.

       230. Absent a court order protecting Plaintiffs' constitutional rights, Defendants, and

Ohio’s ballot access scheme enabling pre-enactment executive and judicial review, will continue

to unlawfully interfere with Plaintiffs' constitutional rights and violate the separation of powers

doctrine.

                                      CAUSES OF ACTION

                                          Count 1
            Facial First Amendment challenge against all Defendants for enforcing
                                 content-based restriction

       231. Plaintiffs hereby incorporate all of the claims, allegations and assertions set forth in

paragraphs 1-231 as if fully rewritten herein.

       232. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)a(1), and

3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, are unconstitutional

under the First Amendment (as applied to the state through the Fourteenth Amendment) because

they impose severe burdens and unreasonable restrictions on ballot access.

       233. Plaintiffs are severely burdened by these specific Ohio election laws and by Ohio’s

ballot access scheme which allows content-based, substantive pre-enactment review of proposed

ballot measures by election officials and the judiciary. Such review constitutes both unlawful

content-based restriction that interferes with core political speech, violates voters’ fundamental


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right to vote, and inhibits citizens from reforming or altering their current form of government.

        234. Defendants do not have any interests that could justify such burdens so as to survive

strict scrutiny or any other standard of review under the First Amendment.

        235. Defendants’ enforcement of O.R.C.§§ 307.95, 307.95( C), 3501.11(K)(1) and (2),

3501.38(M)(1), and 3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, and

of Ohio’s ballot access scheme, which allows content-based, substantive pre-enactment review of

proposed ballot measures by election officials and the judiciary, facially violates the First and

Fourteenth Amendments.

        236. Wherefore, Plaintiffs seek declaratory and injunctive relief, costs, and attorneys’

fees, and any other relief as the Court deems just and proper.

                                       Count 2
        As-Applied First Amendment challenge against all Defendants for enforcing
                               content-based restriction

        237. Plaintiffs hereby incorporate all of the claims, allegations and assertions set forth in

paragraphs 1-237 as if fully rewritten herein.

        238. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), and

3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, are unconstitutional

under the First Amendment (as applied to the state through the Fourteenth Amendment) because

they impose severe burdens and unreasonable restrictions on ballot access, which violates core

political rights.

        239. Plaintiffs are severely burdened by Ohio’s ballot access scheme, which allows

content- based, substantive pre-enactment review of proposed ballot measures by election

officials and the judiciary. Such review constitutes unlawful content-based restriction that


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interferes with core political speech and petition for redress of grievances, violates voters’

fundamental right to vote, and inhibits citizens from reforming or altering their current form of

government.

       240. Defendants do not have any interests that could justify such burdens so as to survive

strict scrutiny or any other standard of review under the First and Fourteenth Amendments.

       241. Defendants’ enforcement of O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2),

3501.38(M)(1), and 3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, and

of Ohio’s ballot access scheme, which allows content-based, substantive pre-enactment review of

proposed ballot measures by election officials and the judiciary, violates the First and Fourteenth

Amendments as applied.

       242. Wherefore, Plaintiffs seek declaratory and injunctive relief, costs, and attorneys’

fees, and any other relief as the Court deems just and proper.

                                        Count 3
   Facial First Amendment challenge against all Defendants for enforcing prior restraint

       243. Plaintiffs hereby incorporate all of the claims, allegations and assertions set forth in

paragraphs 1-242 as if fully rewritten herein.

       244. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), and

3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, are unconstitutional

under the First Amendment (as applied to the state through the Fourteenth Amendment) because

they impose severe burdens and unreasonable restrictions on ballot access.

       245. Plaintiffs are severely burdened by these specific Ohio election laws and by Ohio’s

ballot access scheme, which allows content-based, substantive pre-enactment review of proposed

ballot measures by election officials and the judiciary. Such review constitutes unlawful prior

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restraint that interferes with core political speech, violates voters’ fundamental right to vote, and

inhibits citizens from reforming or altering their current form of government.

        246. Defendants do not have any interests that could justify such burdens so as to survive

strict scrutiny or any other standard of review under the First Amendment.

        247. Defendants’ enforcement of O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2),

3501.38(M)(1), and 3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, and

of Ohio’s ballot access scheme, which allows content-based, substantive pre-enactment review of

proposed ballot measures by election officials and the judiciary, facially violates the First and

Fourteenth Amendments.

        248. Wherefore, Plaintiffs seek declaratory and injunctive relief, costs, and attorneys’

fees, and any other relief as the Court deems just and proper.

                                      Count 4
As-Applied First Amendment challenge against all Defendants for enforcing prior restraint

        249. Plaintiffs hereby incorporate all of the claims, allegations and assertions set forth in

paragraphs 1-248 as if fully rewritten herein.

        250. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), and

3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, are unconstitutional

under the First Amendment (as applied to the state through the Fourteenth Amendment) because

they impose severe burdens and unreasonable restrictions on ballot access, which violates core

political rights.

        251. Plaintiffs are severely burdened by Ohio’s ballot access scheme, which allows

content-based, substantive pre-enactment review of proposed ballot measures by election

officials and the judiciary. Such review constitutes unlawful prior restraint that interferes with

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core political speech and petition for redress of grievances, violates voters’ fundamental right to

vote, and inhibits citizens from reforming or altering their current form of government.

       252. Defendants do not have any interests that could justify such burdens so as to survive

strict scrutiny or any other standard of review under the First and Fourteenth Amendments.

       253. Defendants’ enforcement of O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2),

3501.38(M)(1), and 3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, and

of Ohio’s ballot access scheme, which allows content-based, substantive pre-enactment review of

proposed ballot measures by election officials and the judiciary, violates the First and Fourteenth

Amendments as applied.

       254. Wherefore, Plaintiffs seek declaratory and injunctive relief, costs, and attorneys’

fees, and any other relief as the Court deems just and proper.

                                       Count 5
 Violation of First Amendment Assembly and Petition clauses and Fourteenth Amendment
                           of the United States Constitution

       255. Plaintiffs hereby incorporate all of the claims, allegations and assertions set forth in

paragraphs 1-254 as if fully rewritten herein.

       256. The United States Constitution First Amendment is incorporated to apply to the

states, and reads in part: “Congress shall make no law . . . abridging . . . the right of the people

peaceably to assemble, and to petition the government for a redress of grievances.”

       257. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), and

3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, are unconstitutional

under the First Amendment (as applied to the state through the Fourteenth Amendment) because

they impose severe burdens and unreasonable restrictions on ballot access, which violates core


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political rights.

        258. Plaintiffs are severely burdened by Ohio’s ballot access scheme, which prevents

their ability to associate for political change by allowing executive and judicial officials to veto

their duly-qualified proposed charters, charter amendments, and ordinance initiatives from

appearing on the ballot.

        259. Defendants do not have any interests that could justify such burdens so as to survive

strict scrutiny or any other standard of review under the First and Fourteenth Amendments.

        260. Wherefore, Plaintiffs seek declaratory and injunctive relief, costs, and attorneys’

fees, and any other relief as the Court deems just and proper.

                                           Count 6
  Violation of Right of Local, Community Self-Government Pursuant to Substantive Due
                        Process Clause of the Fourteenth Amendment

        261. Plaintiffs hereby incorporate all of the claims, allegations and assertions set forth in

paragraphs 1-260 as if fully rewritten herein.

        262. The Due Process Clause of the Fourteenth Amendment declares that no State shall

“deprive any person of life, liberty, or property, without due process of law.” U.S. Const.,

Amendment XIV. Rights protected by the Substantive Due Process clause include unenumerated

rights which are so rooted in the traditions and conscience of our people as to be ranked as

fundamental.

        263. The right of local, community self-government is so rooted in the traditions and

conscience of our people as to be ranked as fundamental. It is so fundamental that its principles

are the architecture for the Preamble of the U.S. Constitution.

        264. Substantive due process also guards against governmental power being used for


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purposes of oppression. See Daniels v. Williams, 474 U.S. 327, 331 (1986).

        265. Defendants have infringed, and absent declaratory and injunctive relief will continue

to infringe, Plaintiffs’ inherent and fundamental right of local, community self-government as

expressed through the exercise of direct democracy and as secured by the Substantive Due

Process clause of the Fourteenth Amendment by imposing an arbitrary, irrational, and

fundamentally unfair ballot access scheme.

        266. In reviewing proposed initiatives, Defendants apply vague and arbitrary rules,

standards, and procedures such that Plaintiffs have no clear guidance as to whether a proposed

initiative will be placed on the ballot.

        267. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), and

3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, and Ohio’s ballot access

scheme, which allows content-based, substantive pre-enactment review of proposed ballot

measures by election officials and the judiciary, violates Plaintiffs’ right of local, community

self-government as expressed through the exercise of direct democracy by interfering with, and

arbitrarily limiting, how the people may propose a charter, charter amendment, or ordinance.

        268. Defendant election officials’ arbitrary content-based review of proposed ballot

measures is also fundamentally unfair because it allows people in one jurisdiction to place a

proposed measure on the ballot while preventing ballot access for a same or similar measure in

another jurisdiction. It also empowers Defendants to block initiatives from the ballot in the same

jurisdiction in one year for one reason, and in a subsequent year for another reason, one that is

expressly opposite from and contradictory to the reasoning used in the prior year.

        269. Defendants’ conduct not only violates the fundamental right of local, community


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self-government, but it is conscience shocking insofar as Defendants repeatedly and arbitrarily

can oppress the exercise of direct democracy. Defendants’ abuse of power directly oppresses

Plaintiffs’ right to have a voice in self-government by preventing measures from being placed on

the ballot.

        270. Wherefore, Plaintiffs seek declaratory and injunctive relief, costs, and attorneys’

fees, and any other relief as the Court deems just and proper.

                                       Count 7
        The Unenumerated Rights Preserved for the People by the Ninth Amendment

        271. Plaintiffs hereby incorporate all of the claims, allegations and assertions set forth in

paragraphs 1-270 as if fully rewritten herein.

        272. The inherent right of local, community self-government is fundamental to our

ordered scheme of liberty and is deeply rooted in this nation’s history and tradition. It is so

fundamental that its principles are the architecture for the Preamble of the U.S. Constitution.

Without the right of local, community self-government, the freedoms of self-governance fought

for in the American Revolution are empty. Our nation’s founders intended that the people would

have the right to alter, abolish, or reform their local government.

        273. The Ninth Amendment of the United States Constitution provides that “the

enumeration in the Constitution, of certain rights, shall not be construed to deny or disparage

others retained by the people.”

        274. Among the implicit liberties preserved for the people and protected from

government intrusion by the Ninth Amendment is the inherent and fundamental right of local,

community self-government, including the exercise of that right as expressed through the

exercise of direct democracy.

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          275. Defendants’ perpetuation of Ohio’s unconstitutional ballot access scheme interferes

with the exercise of direct democracy so as to violate the people’s right of local, community self-

government as preserved for the people by the Ninth Amendment.

          276. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), and

3501.39(A)(3), as authoritatively construed by the Ohio Supreme Court, and Ohio’s ballot access

scheme, which allows content-based, substantive pre-enactment review of proposed ballot

measures by election officials and the judiciary, violates Plaintiffs’ right of local, community

self-government as expressed through the exercise of direct democracy, by interfering with, and

arbitrarily limiting, how the people may propose a charter, charter amendment, or ordinance.

          277. Defendants elections officials’ arbitrary content-based review of proposed ballot

measures is also fundamentally unfair because it allows people in one jurisdiction to place a

proposed measure on the ballot while preventing ballot access for a same or similar measure in

another jurisdiction. It also empowers Defendants to block initiatives from the ballot in the same

jurisdiction in one year for one reason, and in a subsequent year for another reason, one that is

expressly opposite from and contradictory to the reasoning used in the prior year.

          278. Defendants’ conduct not only violates the fundamental right of local, community

self-government, but it is conscience shocking insofar as Defendants repeatedly and arbitrarily

oppress the exercise of direct democracy. Defendants’ abuse of power directly oppresses

Plaintiffs’ right to have a voice in self-government preventing measures from being placed on the

ballot.

          279. Defendants have infringed, and absent declaratory and injunctive relief, will

continue to infringe, Plaintiffs’ fundamental constitutional rights.


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       280. Wherefore, Plaintiffs seek declaratory and injunctive relief, costs, and attorneys’

fees, and any other relief as the Court deems just and proper.

                                           Count 8
                Violation of Separation of Powers Doctrine (under Ohio law)

       281. Plaintiffs hereby incorporate all of the claims, allegations and assertions set forth in

paragraphs 1-280 as if fully rewritten herein.

       282. Under the separation of powers doctrine as articulated in Ohio law, “[t]he

administration of justice by the judicial branch of the government cannot be impeded by the other

branches of the government in the exercise of their respective powers.” State ex rel. Johnston v.

Taulbee), 66 Ohio St.2d 417, 20 O.O.3d 361, 423 N.E.2d 80 (1981). The judiciary has both the

power and the solemn duty to determine the constitutionality and validity of acts by other

branches of the government and to ensure that the boundaries between branches remain intact.

State ex rel. Ohio Academy of Trial Lawyers v. Sheward, 86 Ohio St.3d 451, 462, 715 N.E.2d

1062 (1999).

       283. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), and

3501.39(A)(3) and Defendants otherwise unlawful substantive, content-based pre-enactment

review, violates separation of powers by allowing the Defendants to conduct constitutional

review of the substance and content of proposed measures. Only the judiciary has the power to do

constitutional judicial review, and that power can only be exercised to review a law, not a

proposed law, and thus judicial review must only be exercised after a proposed law has been

enacted.

       284. O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2), 3501.38(M)(1), and

3501.39(A)(3), and Ohio’s ballot access scheme, which allows substantive, content-based pre-

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enactment review by election officials and the judiciary, violates separation of powers by

interfering with the people’s exercise of their lawmaking powers. Such review crosses the

boundaries between branches of government.

        285. Just as the judiciary cannot review legislation proposed by legislative bodies before

it is enacted, either for its legality or for whether it is within the scope of the legislature’s

authority to enact, neither the judiciary nor the boards of elections should be permitted to review

legislation proposed by the people before it is enacted.

        286. Wherefore, Plaintiffs seek declaratory and injunctive relief, costs, and attorneys’

fees, and any other relief as the Court deems just and proper.

                                           Prayer for Relief

        Wherefore, Plaintiffs seek a court order declaring:

        (1) That the provisions of O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2),

3501.38(M)(1), and 3501.39(A)(3) that permit substantive, content-based review are facially

unconstitutional;

        (2) That the provisions of O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and (2),

3501.38(M)(1), and 3501.39(A)(3) that permit substantive, content-based review are

unconstitutional as applied;

        (3) That Ohio’s ballot access scheme, which allows substantive, content-based pre-

enactment review by election officials and the judiciary, violates the First and Fourteenth

Amendments;

        (4) That Ohio’s ballot access scheme, which allows substantive, content-based pre-

enactment review by election officials and the judiciary, violates Ohio’s separation of powers


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doctrine;

          (5) That Ohio’s ballot access scheme, which allows substantive, content-based pre-

enactment review by election officials and the judiciary, violates the people’s right of local,

community self-government.

          Further, Plaintiffs seek preliminary and permanent injunctive relief, enjoining Defendants

from:

          (1) engaging in any content-based substantive pre-enactment review of proposed ballot

measures, including, but not limited to, whether a proposed measure is within a county or

municipalities “scope of authority” or whether it is considered legislative or administrative in

nature;

          (2) applying the invalid provisions of O.R.C. §§ 307.95, 307.95( C), 3501.11(K)(1) and

(2), 3501.38(M)(1), and 3501.39(A)(3); and

          (3) employing Ohio’s ballot access scheme to allow substantive, content-based pre-

enactment review by election officials or the judiciary.

          Additionally, Plaintiffs seek:

          (1) An award of attorneys’ fees and costs as prevailing parties pursuant to 42 U.S.C. §

1988; and

          (2) Such other and further relief as the Court deems just and proper.

February 1, 2019                                         /s/ Terry J. Lodge
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